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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE

UNITED STATES OF AMERICA                                                               PLAINTIFF


v.                                               CRIMINAL ACTION NO. 3:23-CR-00061-DJH


MARKUS STILLWELL                                                                    DEFENDANT

                     PROTECTIVE ORDER GOVERNING DISCOVERY

         Upon the motion of the government, pursuant to Fed. R. Crim. P. 16(d), it is

         hereby ORDERED:

         1.     All of the materials provided by the United States in preparation for, or in

 connection with, any stage of the proceedings in this case (collectively, "the materials") are subject

 to this protective order and may be used by the defendant and defendant’s counsel (defined as

 counsel of record in this case) solely in connection with the defense of this case, and for no other

 purpose, and in connection with no other proceeding, without further order of this Court.

         2.     Defendant and defendant’s counsel shall not disclose the materials or their contents

 directly or indirectly to any person or entity other than persons employed to assist in the defense,

 persons who are interviewed as potential witnesses, counsel for potential witnesses, and other

 persons to whom the Court may authorize disclosure (collectively, “authorized persons”).

 Potential witnesses and their counsel may be shown copies of the materials as necessary to prepare

 the defense, but may not retain copies without prior permission of the Court.




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       3.      Defendant, defendant’s counsel, and authorized persons shall not copy or reproduce

the materials except in order to provide copies of the materials for use in connection with this case

by defendant, defendant’s counsel, and authorized persons. Such copies and reproductions shall

be treated in the same manner as the original materials.

       4.      Defendant, defendant’s counsel, and authorized persons shall not disclose any notes

or records of any kind that they make in relation to the contents of the materials, other than to

authorized persons, and all such notes or records are to be treated in the same manner as the original

materials.

       5.      Video and audio recordings of the controlled buys and controlled calls shall not be

copied or duplicated, and must remain in the possession, custody, and control of counsel for the

defendant.

       6.      Before providing materials to an authorized person, defense counsel must provide

the authorized person with a copy of this Order.

       7.      Upon conclusion of all stages of this case, all of the materials and all copies made

thereof shall be destroyed or returned to the United States, unless otherwise ordered by the Court.

The Court may require a certification as to the disposition of any such materials.

       8.      To the extent any material is produced by the United States to a defendant or

defendant’s counsel by mistake, the United States shall have the right to request the return of the

material and shall do so in writing. Within five days of the receipt of such a request, defendant

and/or defendant’s counsel shall return all such material if in hard copy, and in the case of

electronic materials, shall certify in writing that all copies of the specified material have been

deleted from any location in which the material was stored.

       9.      The restrictions set forth in this Order do not apply to documents that are or become
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part of the public court record, including documents that have been received in evidence at other

trials, nor do the restrictions in this Order limit defense counsel in the use of discovery materials

in judicial proceedings in this case.

       10.     Nothing contained in this Order shall preclude any party from applying to this Court

for further relief or for modification of any provision hereof.
